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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

ANI CHOPOURIAN,                        )   CASE NO. 2:09-CV-02972-KJM-KJN
                                       )
      Plaintiff,                       )   JOINT MOTION FOR ORDER VACATING
                                       )   JUDGMENT PURSUANT TO SETTLEMENT
                                       )   (Fed. R. Civ. P. 60(b)(5)) AND FOR ORDER
      v.                               )   DISMISSING ACTION (Fed. R. Civ. P.
                                       )   41(a)(2))
CATHOLIC HEALTHCARE WEST,              )
MERCY GENERAL HOSPITAL, AND            )
DOES 1 through 20, inclusive,          )   The Honorable Kimberly J. Mueller
                                       )
      Defendants.                      )
                                       )
                                       )
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       As the Court is aware from the parties’ Joint Submission on November 9, 2012, the

parties have settled this matter and are in the process of finalizing the details of the settlement.

In accordance with the settlement, the parties have agreed to move the Court to vacate the

judgment—the judgment is not final as to this Court because of the pending posttrial

motions—and plaintiff has agreed to request voluntary dismissal of the action, with prejudice.

The parties therefore jointly move the Court for an order incorporating that motion and request.

A Proposed Order is attached.

       Joint Motion to Vacate Judgment Pursuant To Fed. R. Civ. P. 60(b). Federal Rule of

Civil Procedure 60(b)(5) permits a district court, “[o]n motion and just terms,” to “relieve a party

or its legal representative from a final judgment, order, or proceeding” for specified reasons,

including that “(5) the judgment has been satisfied, released, or discharged . . . or applying it

prospectively is no longer equitable; or [¶] (6) [for] any other reason that justifies relief.” Fed.

R. Civ. P. 60(b)(5)-(6). Rule 60(b) vests district courts with “equitable discretion when

reviewing [their] own judgments.” American Games, Inc. v. Trade Products, Inc., 142 F.3d

1164, 1170 (9th Cir. 1998). When considering whether an order vacating a judgment, or

“vacatur,” is appropriate, district courts employ an “equitable balancing” test under which they

are tasked with assessing “whether to vacate [their] judgment in light of ‘the consequences and

attendant hardships of dismissal or refusal to dismiss’ and ‘the competing values of finality of

judgment and right to relitigation of unreviewed disputes.’” 1 Id. at 1168 (quoting Diley v. Gunn,
64 F.3d 1365, 1370-71 (9th Cir. 1995)).

       Here, applying Rule 60(b)’s equitable balancing test and given the circumstances that

prompted the parties’ joint request, vacatur is appropriate. The parties have settled and have

agreed to request the Court to vacate the judgment. That request is appropriate because the

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         American Games makes clear that Rule 60(b)’s “equitable balancing” test governs when
a district court is considering whether to vacate its own judgment, and that the “exceptional
circumstances” test applied by an appellate court to requests for vacatur of a lower court’s
judgment is not applicable. Id. at 1168-70 (“[g]iven the fact-intensive nature of the inquiry
required, it seems appropriate that a district court should enjoy greater equitable discretion when
reviewing its own judgments than do appellate courts operating at a distance.”).
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judgment is not final as to this Court and the posttrial motions are still pending and potentially

could have resulted in setting the judgment aside entirely or altering its terms substantially.

        First, the fact that the Court has not yet ruled on the posttrial motions weighs in favor of

vacatur. See Click Entertainment, Inc. v. JYP Entertainment Co., Ltd., Case No. 07-00342, 2009

WL 3030212, *3 (D. Haw. Sept. 22, 2009) (fact that posttrial motions were pending and

judgment subject to posttrial review favored vacatur).

        Second, because the judgment arises from a jury verdict, there is no risk that vacating it

will alter this Court’s precedent. See In re Apollo Group Inc. Securities Litigation, Case No. 04-

2147, 2012 WL 1378677, *10 (D. Ariz. April 20, 2012) (“Further, concerns that are normally

prevalent in considering whether to vacate a judgment, such as removing precedent from case

law are not present here. The Judgment, which represents the jury verdict, does not itself vary

precedential value that would facilitate the resolution of disputes in future cases.”).

        Third, the parties are aware of no third parties whose interests would be affected by an

order vacating the judgment. See White v. Shen, Case No. 09-0989, 2011 WL 2790475, *2 (N.D.

Cal. July 11, 2011) (court was unaware of any case that might implicate the issues litigated, so

risk that future courts might have to consider anew issues already litigated was a “somewhat

neutral” factor); cf. Ohio Willow Wood Co. v. Thermo-Ply, Inc., 769 F. Supp. 2d 1065, 1069

(E.D. Tex. 2011) (vacatur of judgment invalidating patent was inappropriate in part because

“[t]here [wa]s a real chance that other parties … w[ould] become involved in litigation over the

patent.”).

        Finally, the fact that both parties are jointly requesting vacatur as part of a settlement that

resolves their dispute weighs in favor of vacatur. Click Entertainment, 2009 WL 3030212, at *2

(“vacating the Verdict and Amended Judgment was contemplated as part of settlement (though

not made a condition of settlement), and thus the Court should, where appropriate, support the

negotiations and terms of settlement”); White, 2011 WL 2790475, *2 (“I conclude that that the

overriding factor is the beneficial effect of the settlement on the parties, especially on the

defendant concerned about bankruptcy absent a settlement. This outweighs the other factors I

have considered.”).
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       For these reasons, an order vacating the judgment pursuant to the parties’ joint motion is

warranted.

       Plaintiff’s Request for Voluntary Dismissal of Action Pursuant To Fed. R. Civ. P.

41(a)(2). As part of the settlement, plaintiff has agreed to a voluntary dismissal of the action

with prejudice. At this stage of a case, under Federal Rule of Civil Procedure 41(a)(2), “an

action may be dismissed at the plaintiff’s request only by court order, on terms that the court

considers proper.” Fed. R. Civ. Proc. 41(a)(2). “Unless the order states otherwise, a dismissal

under this paragraph (2) is without prejudice.” Id. There are no other claims, counterclaims, or

other pending proceedings that would affect or impede a dismissal with prejudice, and plaintiff is

agreeable to that disposition. Accordingly, good cause exists for an order granting the request

for a with prejudice dismissal.

       The parties appreciate the Court’s assistance in facilitating the settlement, and ask that

the Court enter the order as proposed forthwith.

       Dated: November30, 2012.               Respectfully submitted,

                                             LA FOLLETTE, JOHNSON, DE HAAS, FESLER
                                             & AMES

                                              REED SMITH LLP
                                              By:     /s/ Raymond A. Cardozo
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                                              HEALTHCARE WEST dba MERCY GENERAL
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                                              CATHOLIC HEALTHCARE WEST and MERCY
                                              GENERAL HOSPITAL)


       Dated: November30, 2012                BOHM LAW GROUP

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                                              By:      /s/ Lawrance A. Bohm
                                                       LAWRANCE A. BOHM

                                              Attorneys for Plaintiff Ani Chopourian
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                                      ORDER


       GOOD CAUSE APPEARING, and pursuant to the parties’ notification to the Court that

this matter has settled, the Court grants the parties’ Joint Motion For Order Vacating Judgment

Pursuant To Settlement (Fed. R. Civ. P. 60(b)) And For Order Dismissing Action (Fed. R. Civ.

P. 41(a)(2)). For good cause shown, and in the interests of justice, the Court vacates the

Judgment entered on April 30, 2012 and dismisses this action with prejudice. This Order moots

the pending posttrial motions.
       IT IS SO ORDERED.
Dated: December 4, 2012.



                                                    UNITED STATES DISTRICT JUDGE
